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                                                     June 14, 2019
Hon. Madeline Cox Arleo, U.S.D.J.
United States District Court
MLK Building & U.S. Courthouse
50 Walnut Street
Newark, NJ 07101

       RE:     United States v. Richard Adebayo
               Criminal No. 19-00068 (MCA)

Dear Judge Arleo:

        Please accept this letter application in lieu of a more formal motion to suppress the apple
laptop computer and all evidence derived therefrom on the basis that files were accessed after Mr.
Adebayo’s arrest, while the laptop was in the custody of the government and prior to the
authorization of the search warrant. In addition to the government violating Mr. Adebayo’s Fourth
Amendment rights, we further move to preclude any use of the apple laptop computer pursuant to
Fed. R. Evid. 403 because more than 5000 files on the computer were accessed, modified or
otherwise damaged while in the custody of the government and prior to the forensic image being
made. The defense will never be able to determine the extent of the damage, and as such, the
prejudice that would impact Mr. Adebayo substantially outweighs any probative value the
computer would offer.

        Mr. Adebayo proceeded pro se in this case until Wednesday, June 5, 2019. On that same
day, at Mr. Adebayo’s request, the Court ordered that counsel immediately step in and represent
Mr. Adebayo at trial. The jury was selected on June 6 and 7, and the Court allowed a continuance
of one week so that defense counsel could prepare for trial.

        In order to effectively represent Mr. Adebayo, counsel retained the services of a computer
forensic expert to consult and advise with regard to the digital forensic evidence the government
intends to introduce at trial. On Wednesday, June 11, 2019, the defense requested a copy of the
forensic image of the apple laptop computer that was in Mr. Adebayo’s possession at the time of
the arrest. This computer is the subject of a detailed forensic expert report that the government
intends to introduce at trial through a forensic expert, Special Agent William Belanger (Gov. Exh.
600). On that same date, we provided the government with the CV of John Lucich, the computer
forensic expert retained by the defense.




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        Mr. Lucich picked up the forensic image from the government on June 12, 2019 at 10
am. The government was very accommodating at making sure we had access to it as quickly as
possible. After initial review of the image, our expert advised that the computer had been accessed
prior to the search warrant authorization while in the government’s custody. In an abundance of
caution, we immediately gave written notice to the government pursuant to Rule 26 that we intend
to rely on John Lucich as an expert. We gave further notice under subsection 2(c) of the rule of a
statement of the subject matter on which the witness is expected to present evidence and a summary
of the facts and opinions to which the witness is expected to testify. Specifically, our notice read:

               Please be advised that pursuant to Rule 26, notice is hereby given
               that the defense reserves its right to call John Lucich as an expert
               witness in the field of computer forensic science. We provided Mr.
               Lucich’s CV to you yesterday. Pursuant to subsection 2(C), please
               be advised that facts and opinions of which Mr. Lucich intends to
               testify include the appropriate computer forensic procedures to be
               followed in an examination, the manner in which the Apple Laptop
               Computer was examined in this case, and the facts and evidence
               disclosed in the report of William Belanger. Should you have any
               questions, please do not hesitate to contact me.

        Since then, we have come to learn from our expert the severity of the situation. Law
enforcement took custody of the apple computer on April 1 at the time of the arrest. That fact is
established by numerous reports which are pre-marked government exhibits and signed by Det.
Mendelsohn of the Millburn Police Department. (JA-25; JA-28). Millburn PD turned those items
over to Homeland Security Investigations Special Agent Ricky Miller on April 2, 2014 at
approximately 2:30 pm, as evidenced by the chain of custody. (Gov. Exh. 636). The warrant
authorizing the search of the computer was not executed until April 11, 2014 by Magistrate Judge
Dickson.

        After law enforcement took custody of the computer, our expert has discovered operating
system activity on the computer. System activity means that the computer was somehow accessed
and the integrity of the evidence compromised prior to the warrant allowing the government to
search it. According to our expert, this system activity means that the manner in which the
government kept custody of the computer was such that files were overwritten, accessed, and/or
otherwise modified. It is unknown if this was knowing and intentional. Putting aside the
constitutional violation, it is also contrary to proper forensic procedure as well as proper evidence
handling procedure. It is the equivalent of the plastic bag holding the glass with fingerprints to be
opened and touched before it is examined for fingerprints. That would have the ability to remove
existing prints, or place new ones on the glass. The same is true for the computer. This activity



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altered the state of the evidence after it left Mr. Adebayo’s possession and prior to examination.
It’s reliability has now been compromised.

       The activity discovered by our expert is as follows:

       1. On April 1, 2014, 252 files were accessed between the hours of 2:16 pm and 3:27 pm. It
          is impossible to know what was modified or by whom, except that we know that SA
          Miller take custody at 2:30 pm that day.
       2. On April 3, 2014, 49 files were accessed. It is impossible to know what was modified
          or by whom.
       3. On April 11, 2014, the search warrant was authorized.
       4. On April 11, 2014, 4937 files were accessed. It is impossible to know what was
          modified or by whom, but even though the search was presumably authorized by this
          time, the manner in which the computer was explored was not forensically sound and
          allowed for further contamination of the evidence.
       5. On April 14, 2014, Special Agent William Belanger acquires a forensic image of the
          laptop computer, which then allows for examination without any alteration.

       The extent of the damage to the evidence will never be known. Worse yet, there is no
mention of this in any report by Special Agent Miller, nor did the forensic expert, Special Agent
Belanger, mention this data, which was immediately apparent to our expert. We are now alerting
the Court and making this motion without the final report of our forensic expert. We will
supplement this application when we receive his report and make the report and the expert
available to the Court and the government.

       Accordingly, we move as follows:

   1. Suppress the apple laptop for violation of Mr. Adebayo’s 4th Amendment right;
   2. Preclude the apple laptop as evidence in trial and preclude any testimony or evidence
      derived therefrom on the basis of prejudice under Fed. R. Evid. 403 because the defense
      will never be permitted to examine or determine what those more than 5000 newly created
      modifications/deletions/alterations destroyed;
   3. Preclude the apple laptop as evidence in trial and preclude any testimony or evidence
      derived therefrom on the basis of prejudice under Fed. R. Evid. 403 because the evidence
      has been compromised and no witness can testify as to the cause, extent or nature of the
      modifications and the integrity of the evidence has been compromised;
   4. Preclude the apple laptop as evidence in trial and preclude any testimony or evidence
      derived therefrom on the basis of prejudice under Fed R. Evid. 403 because proper forensic
      examination procedures were not followed, and deviations were not noted by the



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     government expert. If proper forensic procedures were followed, the integrity of the
     evidence would have been preserved;
  5. In the alternative, if the Court denies the previous relief sought, we seek the Court’s
     permission to allow John Lucich to testify at trial as an expert on this issue.

                                                Respectfully yours,



                                                CHRISTOPHER D. ADAMS

CDA
cc: AUSA Catherine R. Murphy
    AUSA Jamel Semper




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